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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                          Plaintiff,                  Case No. CR12-62RSL

 9           v.                                         ORDER GRANTING IN PART
      JUAN MAGANA-GUZMAN,                               AND DENYING IN PART
10                                                      MOTION TO WITHDRAW
                            Defendant.                  GUILTY PLEA AND FOR
11
                                                        APPOINTMENT OF NEW
12                                                      COUNSEL

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            This matter comes before the Court on defendant Juan Magana-Guzman’s motion
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     to withdraw guilty plea and for appointment of new counsel (Dkt. # 923). Defendant
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     seeks to withdraw his guilty plea based on his contentions that his attorney failed to
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     provide effective assistance of counsel and he felt pressured to sign a document he did
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     not fully understand. Having considered the facts set forth in defendant’s motion,
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     defendant’s statements during the June 4, 2013, hearing, the Court finds the following:
20          (1) Under Rule 11, a defendant may withdraw a guilty plea after the court accepts
21   the guilty plea, but before sentencing if “the court rejects a plea agreement under Rule
22   11(c)(5); or. . . the defendant can show a fair and just reason for requesting the
23   withdrawal.” Fed. R. Crim. P. 11(d); United States v. Ruiz, 257 F.3d 1030, 1032 (9th
24   Cir. 2001) (en banc). Whether to allow the withdrawal of a plea is within the sole

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 1   discretion of the district court. United States v. Ortega-Ascanio, 376 F.3d 879, 883 (9th

 2   Cir. 2004). While the defendant has the burden to show a fair and just reason for the

 3   withdrawal, that standard is to be applied liberally. Id. “[T]he ‘fair and just reason’

 4   standard is simply more generous than the standard for determining whether a plea is
     invalid.” United States v. Garcia, 401 F.3d 1008, 1012 (9th Cir. 2005). The fact that a
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     defendant’s plea was knowing and voluntary cannot count against the defendant’s
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     attempt to withdraw the plea before sentencing unless that is the only “fair and just
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     reason” asserted by the defendant. Id.
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            (2) The Ninth Circuit has found that fair and just reasons for granting a motion to
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     withdraw a plea include “inadequate plea colloquies, newly discovered evidence,
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     intervening circumstances, or any other reason for withdrawing the plea that did not
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     exist when the defendant entered his plea.” Id. In addition, “[e]rroneous or inadequate
12   legal advice may. . . constitute a fair and just reason for plea withdrawal.” United States
13   v. Bonilla, 637 F.3d 980, 983 (9th Cir. 2011). A defendant seeking to withdraw a plea
14   based on a claim of erroneous or inadequate representation need only show that “proper
15   advice ‘could have at least plausibly motivated a reasonable person in [the defendant’s]
16   position not to have pled guilty had he known about the [grounds for withdrawal] prior

17   to pleading.” Garcia, 401 F.3d at 1011-12.

18          (3) During the hearing, defendant explained that his attorney did not read the
     entire plea agreement to him before he entered a guilty plea. He also contends that he
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     was not thinking clearly during the change of plea hearing because “there was a lot
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     going on.” He claims that he was afraid and felt pressured to sign the plea agreement.
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            (4) Despite these contentions, the Court finds this to be a simple case of buyer’s
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     remorse. Defendant does not claim that his attorney gave him bad or inaccurate legal
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     advice. His only claim of ineffective assistance of counsel rests on his allegation that
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     his attorney did not read the plea agreement to him. However, this claim contradicts his
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 1   testimony under oath that the plea agreement was translated and read to him before the

 2   hearing.1

 3          (5) Furthermore, even if defendant is correct that his lawyer did not read the plea

 4   agreement to him before the change of plea hearing, this failure is not a “fair and just
     reason” for withdrawal of the plea. United States v. Thornton, 23 F.3d 1532, 1533-34
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     (9th Cir. 1994) (any advice by defendant’s counsel that defendant would not receive life
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     sentence does not establish ineffective assistance of counsel where district judge advised
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     defendant during change of plea hearing that life sentence was possible). The Court
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     read the plea agreement page-by-page and a certified interpreter translated for defendant
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     during the plea colloquy. The Court explained the elements of the five crimes included
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     in the plea agreement. Defendant stated he understood each crime to which he was
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     pleading guilty. The Court read the entire statement of facts. Defendant stated the facts
12   presented were true. The prosecutor explained the statutory penalties for each crime.
13   Defendant stated he understood he was facing a mandatory minimum sentence of 15
14   years. Finally, after the Court explained the rights that defendant was giving up by
15   pleading guilty, defendant voluntary pled guilty to each individual charge set forth in the
16   plea agreement.

17          (5) Considering this record, the Court finds that defendant has failed to present a

18   fair and just reason to withdraw the plea and therefore DENIES defendant’s motion to
     withdraw the plea.
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            (5) With respect to defendant’s request for new counsel, the Court finds that the
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     attorney-client relationship has suffered irreparable harm and thus, GRANTS
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     defendant’s request. The Court will appoint new counsel for sentencing.
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24             Defendant also received a version of the plea agreement well in advance of the day of
     the settlement conference and change of plea hearing.
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 1         For all of the foregoing reasons, the Court GRANTS IN PART and DENIES IN

 2   PART defendant’s motion to withdraw guilty plea and for appointment of new counsel

 3   (Dkt. # 923). Defendant’s motion to withdraw the plea is DENIED and defendant’s

 4   motion for the appointment of new counsel is GRANTED.
           DATED this 7th day of June, 2013.
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                                            A
 8                                          Robert S. Lasnik
                                            United States District Judge
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